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 7
                                   IN THE UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                         Case No.: 2:16-MC-00105-KJM
11               Plaintiff,
                                                       ORDER
12                            v.
13   SALAM KALASHO.                                    Criminal Case No.: 2:08-CR-00577-KJM
14               Defendant and Judgment Debtor.
15

16   HUNTINGTON NATIONAL BANK,
     (and its Successors and Assignees)
17
                 Garnishee.
18

19         The Court, having reviewed the court files and the United States’ application for an order

20 terminating writ of garnishment (the “Application”), and finding good cause therefrom, hereby

21 GRANTS the Application. Accordingly, it is ORDERED that the:

22         1.      Writ of Continuing Garnishment (Bank Accounts) previously issued on June 2, 2016

23 against Salam Kalasho, is hereby TERMINATED pursuant to 28 U.S.C. ' 3205(c)(10)(B); and

24         2.      Clerk of Court shall CLOSE this miscellaneous case.

25         IT IS SO ORDERED.
26 DATED: December 29, 2016

27
                                                         UNITED STATES DISTRICT JUDGE
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